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13                                   UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15
16   MICHAEL A. BERNSTEIN PROFIT             )                 CASE NO. C06-04346 WHA
     SHARING KEOGH PLAN, on Behalf of Itself )
17   and All Others Similarly Situated,      )                 CLASS ACTION
                                             )
18                         Plaintiff,        )                 COMPLAINT FOR VIOLATION OF
                                             )                 FEDERAL SECURITIES LAWS
19          v.                               )
                                             )                 DEMAND FOR TRIAL BY JURY
20   HAROLD HUGHES, DAVID MOORING,           )
     ROBERT K. EULAU, GEOFFREY TATE,         )
21   BRUCE DUNLEVIE, P. MICHAEL              )
     FARMWALD, JOHN D. DANFORTH,             )
22   MARK HOROWITZ, KEVIN KENNEDY,           )
     CHARLES GESCHKE, WILLIAM                )
23   DAVIDOW, and RAMBUS, INC.,              )
                                             )
24                         Defendants.       )
     ______________________________________)
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26
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28


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 1           Plaintiff, by its attorneys, submits this Class Action Complaint (the “Complaint”) against the
 2   defendants named herein.
 3                              NATURE AND SUMMARY OF THE ACTION
 4           1.      This is a class action complaint brought on behalf of purchasers of the common
 5   shares of Rambus, Inc. (“Rambus” or the “Company”) who (the “Class”) purchased such shares
 6   between or December 12, 2001 and June 27, 2006, inclusive (the “Class Period”) against Rambus
 7   and Individual Defendants as described herein who were members of the Board of Directors of
 8   Rambus (the “Board”), or were executive officers of Rambus, and signed its Form 10-Ks and/or
 9   authorized issuance of its Proxy Statements.
10           2.      When stock options are awarded, the strike price of the options ordinarily is set equal
11   to the share price on the day of the award. In this way, the executives of a company are supposed to
12   have their interests aligned with the shareholders, whose holdings are diluted each time an option is
13   exercised.
14           3.      As further alleged below, defendants improperly backdated (and/or had knowledge of
15   such backdating) stock option grants to various officers of the Company to make it appear that they
16   were made on dates when the market price of Rambus stock was lower than the market price on the
17   actual grant dates. This improper backdating resulted in option grants with lower exercise prices
18   and thereby improperly increased the value of the options and improperly reduced the amounts the
19   recipients of these option had to pay the Company upon exercise of the options, and unfairly
20   transferred shareholder equity to defendants. Defendants’ conduct also violated the Company’s
21   shareholder-approved stock option plans, the Company’s corporate governance guidelines, the
22   Company’s standards of business conduct and the Company’s conflicts of interest policy.
23           4.      During the Class Period, defendants caused Rambus to file false and misleading
24   statements with the Securities Exchange Commission (“SEC”), including but not limited to, Proxy
25   Statements filed with the SEC, which stated “Unless otherwise indicated, options were granted at an
26   exercise price equal to the fair market value of the Company's Common Stock at the date of grant.”
27   Since according to the scheme of backdating options, on the actual date that the defendants agreed
28   to grant options to the recipient the trading price of the stock was higher then the “fair market

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 1   value” of the stock on the date of grant, the aforementioned statement repeated in Rambus Proxy
 2   Statements issued during the Class Period, which are enumerated and described more fully below,
 3   was materially false and misleading. Furthermore, if the option grant is backdated, the options
 4   value is not “fair” from the vantage point of the Company and its shareholders.
 5           5.      Defendants’ backdating of options grants also violated provisions of the Internal
 6   Revenue Code relating to deduction of option payments and thereby rendered the Company’s
 7   financial statements in Form 10-K filings for the years 2002, 2003, 2004 and 2005 materially false
 8   and misleading. Rambus’ Audit Committee of its Board of Directors (the “Audit Committee”)
 9   continuing investigation may determine that the Company has to absorb substantial charges to
10   correct the error which will likely wipe out a portion of past profits reported. In addition, the
11   Company’s financial statements in Form 10-K filings for the years 2002, 2003, 2004 and 2005 were
12   rendered false and misleading because, in violation of Generally Accepted Accounting Principles
13   (“GAAP”), defendants understated expenses for the reporting period, since if the exercise price at
14   the time of the actual grant is below the market price on that date, the difference, according to
15   GAAP, must be expensed by the Company, which it was not, resulting in understating expenses and
16   thus overstating net income.
17           6.      In fact, defendants were aware that the practices employed by the Board of Directors
18   allowed the stock option grants to be backdated frequently when the Company’s shares were trading
19   at or near the lowest price for the relevant period. By 2004 defendants’ backdating scheme had
20   yielded stock option grants to the Company’s executive officers worth millions of dollars.
21           7.      On May 30, 2006, Rambus announced that the Audit Committee had commenced an
22   internal investigation into the timing of the Company’s stock option practices issued in or before
23   2003. The Company has also announced that the Audit Committee had uncovered discrepancies
24   between the dates that some stock options went on the books and the dates that they should have
25   been recorded under applicable accounting rules. As reported in BizJournal.Com on May 31, 2006,
26   this announcement caused a 6.11% drop in Rambus’ common stock price to $24.26.
27           8.      On June 27, 2006 it was announced late in the afternoon that Rambus may have to
28   restate earnings for prior periods due the back dating of option grants. Rambus shares fell 5% in

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 1   after hours trading. The June 28, 2006 edition of The Wall Street Journal reported that a
 2   preliminary board review found improperly dated stock-option grants that may lead to a restatement
 3   of prior financial results: “Rambus's board ‘has reached a preliminary conclusion that the actual
 4   measurement dates for certain stock option grants issued in prior years differ from the recorded
 5   grant dates for such awards,’ the company said.” On June 27, 2006 Rambus common stock traded
 6   at $23.13 per share, but on news of the above announcements Rambus common shares declined to
 7   close at $20.55 per share on June 28, 2006. Plaintiff and the members of the Class have been
 8   damaged as a result of the above declines in Rambus’ share price.
 9                                        JURISDICTION AND VENUE
10           9.      Jurisdiction is conferred by Section 27 of the Securities Exchange Act of 1934 (the
11   “Exchange Act”)[15 U.S.C. § 78aa] and 28 U.S.C. §§ 1331, 1337. The claims asserted herein arise
12   under and pursuant to Sections 10(b), 14(a) and 20(a) of the Exchange Act [15 U.S.C. §§ 78n(a),
13   78j(b) and 78t(a)] and Rule 10b-5 promulgated thereunder by the Securities and Exchange
14   Commission (“SEC”), 17 C.F.R. § 240.10b-5.
15           10.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15
16   U.S.C. § 78aa and 28 U.S.C. § 1391(b) and (c). Venue is proper in this District because many of the
17   acts and practices complained of herein occurred in substantial part in this District.
18           11.     In connection with the acts, transactions and conduct alleged herein, defendants used
19   the means and instrumentalities of interstate commerce, including the United States mails, interstate
20   telephone communications and the facilities of the national securities exchanges and markets.
21                                                    PARTIES
22           12.     Plaintiff purchased shares of Rambus and engaged in transactions of Rambus
23   securities during the Class Period, as set forth in the certification attached hereto, and suffered
24   damages thereby.
25           13.     Defendant Rambus is a Delaware corporation with its principal executive offices
26   located at 4440 El Camino Real, Los Altos, California 94022. According to its public filings,
27   Rambus is a technology licensing company specializing in the invention and designing of high-
28   speed chip interfaces. Since its founding in 1990, the Company’s patented innovations, break

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 1   through technologies and renowned integration expertise have helped industry-leading chip and
 2   system companies bring superior products to market. Rambus is a supplier of process control and
 3   yield management solutions for the semiconductor manufacturing and related microelectronics
 4   industries. Rambus’ stock is publicly traded on the Nasdaq under the ticker symbol RMBS.
 5           14.     Defendant Harold Hughes (“Hughes”) has served as Chief Executive Officer of the
 6   Company since 2005 and has been a director of the Company since June 2003. He also served as
 7   interim Chief Financial Officer of the Company for the period March 2, 2006 to on or about April
 8   11, 2006. Hughes also signed the Company’s annual 10-K Reports for the years 2004 and 2005,
 9   authorized the issuance of the Company’s Proxy Statements for that period, as well as certifications
10   pursuant to the Sarbanes-Oxley Act of 2002. Since at least as early as June 2003, he served as a
11   member of the Audit Committee and served as its Chairman until January 9, 2005, at which time
12   Hughes discontinued his service on the Audit Committee when he was elected by the Board to serve
13   as Chief Executive Officer of the Company. Hughes signed the 2004 and 2005 annual 10-K Reports
14   for Rambus during this period as well as authorized the issuance of the Company’s Proxy
15   Statements for 2004 and 2005.
16           15.     Defendant Robert K. Eulau (“Eulau”) served as the Senior Vice President of Finance
17   and Chief Financial Officer of Rambus for the period from May 2001 until his resignation effective
18   on or about March 2, 2006. Eulau signed the various annual 10-K Reports for Rambus during the
19   Class Period, as well as certifications pursuant to the Sarbanes-Oxley Act of 2002. Defendant Eulau
20   received backdated stock-option grants as set forth in Exhibit A attached hereto.
21           16.     Defendant Geoffrey Tate (“Tate”) is Chairman of the Board of Directors. Tate
22   served as the Company’s Chief Executive Officer until January 2005 and currently serves as
23   Chairman of the Board of Directors of Rambus. Tate served as President, Chief Executive Officer
24   and director of the Company from May 1990 to December 1999. Tate was also the sole member of
25   the Stock Option Committee from October of 2001 until October 2003, when the Board
26   of Directors dissolved the Stock Option Committee and vested its power and authority in Rambus’
27   Compensation Committee of its Board of Directors (the “Compensation Committee”). Tate, as the
28   sole member of the Stock Option Committee, had the authority to administer the issuance of stock

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 1   options under the Company’s 1997 Stock Plan and the 1999 Non-Statutory Stock Option Plan of up
 2   to 100,000 shares per employee per year, other than to executive officers and members of our Board
 3   of Directors. In addition, Tate had the authority to administer the issuance of common stock
 4   equivalents under the 1997 Stock Plan. Tate received backdated stock-option grants as set forth in
 5   Exhibit A attached hereto. Tate also signed all of the various annual 10-K Reports and authorized
 6   the issuance of all of the Company’s Proxy Statements during the entire Class Period.
 7           17.     Defendant Bruce Dunlevie (“Dunlevie”) is currently a director of the Company.
 8   Dunlevie has served as a Director of the Company since its inception in March 1990. Since at least
 9   as early as October 2001, Dunlevie served, and currently serves, as a member of the Compensation
10   Committee of the Company, of which he is Chairman. From at least as early as October 2001, until
11   he resigned on March 11, 2005, Dunlevie served as a member of the Audit Committee. He has been
12   a General Partner of the venture capital firm Benchmark Capital since May 1995 and a General
13   Partner in the venture capital firm Merrill, Pickard, Anderson & Eyre since 1989. Dunlevie also
14   signed the annual 10-K Reports during the Class Period and authorized the issuance of all of the
15   Company’s Proxy Statements during the entire Class Period.
16           18.     Defendant P. Michael Farmwald (“Farmwald”) has served as a Director of the
17   Company since co-founding the Company in March 1990 to present. On January 25, 2005,
18   Farmwald was appointed to the Audit Committee, and currently serves there. He was appointed to
19   the Compensation Committee during October 2002, and served there until July of 2003. In addition,
20   he had served as Vice President and Chief Scientist of Rambus from March 1990 to November
21   1993. Farmwald also signed the annual 10-K Reports during the Class Period and authorized the
22   issuance of the Company’s Proxy Statements during the entire Class Period.
23           19.     Defendant John D. Danforth (“Danforth”) served as Senior Vice-President, General
24   Counsel and Secretary of the Company since October 2001. Danforth, in his capacity as Secretary,
25   signed the Company’s Proxy Statements during the Class Period on behalf of the Board of
26   Directors.
27           20.     Defendant David Mooring (“Mooring”) was a director of the Company since
28   December 1999 until May of 2006. He signed all the Company’s annual 10-K Reports during the

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 1   Class Period and authorized the issuance of the Company’s Proxy Statements during the Class
 2   Period. From 1999 to 2004, Mooring was President of Rambus. Mooring received backdated stock-
 3   option grants as set forth in Exhibit A attached hereto.
 4           21.     Defendant Mark Horowitz (“Horowitz”) has served as a Director of the Company
 5   since co-founding Rambus in March 1990. He has also served as a Vice President from March 1990
 6   to May 1994. Horowitz signed all of the Company’s annual 10-K Reports during the Class Period
 7   as well as authorized the issuance of the Company’s Proxy Statements during the Class Period.
 8           22.     Defendant Kevin Kennedy (“Kennedy”) has served as a Director of the Company
 9   since April 2003. He also has served, since July 2003 and continues to serve, as a member of the
10   Compensation Committee and also serves as a member of the Corporate Governance and
11   Nominating Committee, of which he is the Chairman. Kennedy signed Rambus’ 2003, 2004 and
12   2005 annual 10-K Reports and authorized the issuance of the Company’s Proxy Statements for 2004
13   and 2005.
14           23.     Defendant William Davidow (“Davidow”) served as a director of the Company
15   since the founding of the Company in March 1990 until May 4, 2005 at which time he was
16   appointed Director Emeritus. He served as Chairman of the Board of Directors from March 1990
17   until January 2005. He served as a member of both the Audit Committee and Compensation
18   Committee since as early as December 2001. Davidow signed Rambus’ 2001, 2002, 2003 and 2004
19   annual 10-K Reports and authorized the issuance of the Company’s Proxy Statements for 2001,
20   2002, 2003, 2004 and 2005.
21           24.     Defendant Charles Geschke (“Geschke”) served as a director of Rambus since
22   February 1996 until he resigned effective March 11, 2005. He was a member of the Audit
23   Committee from as early as December 2001 until July 2003. He was a member of the
24   Compensation Committee from as early as December 2001 and its Chairman from October 2002.
25   He was a member of the Corporate Governance/Nominating Committee from the time it was formed
26   in October 2002. Geschke signed Rambus’ 2001, 2002, 2003 and 2004 annual 10-K Reports and
27   authorized the issuance of the Company’s Proxy Statements for 2001, 2002, 2003 and 2004.
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 1           25.     Collectively, defendants Hughes, Eulau, Mooring, Tate, Dunlevie, Farmwald,
 2   Danforth, Horowitz, Kennedy, Chou, Davidow and Geschke are referred thereon as the “Individual
 3   Defendants.”
 4           26.     Defendants Davidow, Geschke, Dunlevie, Hughes, and Farmwald are also referred to
 5   as the “Audit Committee Directors.” Defendants Farmwald, Geschke, Dunlevie, and Kennedy are
 6   also referred to as the “Compensation Committee Directors.” Defendants Tate, Mooring, Danforth
 7   and Eulau are also referred to herein as the “Backdated Option Recipients.”
 8                                           CLASS ALLEGATIONS
 9           27.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
10   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased the common
11   stock of Rambus between December 12, 2001, (the date the Company filed its form 10-K with the
12   SEC for the its fiscal year ending September 30, 2001)) and June 27, 2006 (the date the Company
13   disclosed that it planned to restate earnings for certain period because of its practice of backdating
14   options), inclusive and who were damaged thereby. Excluded from the Class are defendants, the
15   officers and directors of the Company, at all relevant times, members of their immediate families
16   and their legal representatives, heirs, successors or assigns and any entity in which defendants have
17   or had a controlling interest.
18           28.     The members of the Class are so numerous that joinder of all members is
19   impracticable. During the Class Period, Rambus had more than 100 million shares of common
20   stock outstanding, which were actively traded on the NASDAQ, under the ticker symbol “RMBS,”
21   and tens of millions of shares of common stock were traded during the Class Period. While the
22   exact number of Class members is unknown to plaintiff at this time and can only be ascertained
23   through appropriate discovery. Plaintiff believes that there are hundreds or thousands of members
24   in the proposed Class. Record owners and other members of the Class may be identified from
25   records maintained by Rambus or its transfer agent and brokerage firms and may be notified of the
26   pendency of this action by mail, using the form of notice similar to that customarily used in
27   securities class actions.
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 1           29.       Plaintiff’s claims are typical of the claims of the members of the Class as all
 2   members of the Class are similarly affected by defendants’ wrongful conduct in violation of federal
 3   law that is complained of herein.
 4           30.       Plaintiff will fairly and adequately protect the interests of the members of the Class
 5   and has retained counsel competent and experienced in class and securities litigation.
 6           31.       Common questions of law and fact exist as to all members of the Class and
 7   predominate over any questions solely affecting individual members of the Class. Among the
 8   questions of law and fact common to the Class are:
 9                     (a)    whether the federal securities laws were violated by defendants’ acts as
10   alleged herein;
11                     (b)    whether statements made by defendants to the investing public during the
12   Class Period misrepresented material facts about a.) how the Company awarded options to its
13   executives, and b.) whether the Company’s financial form 10-K and Proxy Statements, filed with
14   the SEC during the Class Period ,contained false and misleading statements; and
15                     (c)    to what extent the members of the Class have sustained damages and the
16   proper measure of damages.
17           32.       A class action is superior to all other available methods for the fair and efficient
18   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
19   damages suffered by individual Class members may be relatively small, the expense and burden of
20   individual litigation make it impossible for members of the Class to individually redress the wrongs
21   done to them. There will be no difficulty in the management of this action as a class action.
22                                      SUBSTANTIVE ALLEGATIONS
23           33.       From fiscal 2001 to 20041, the Compensation Committee granted certain Rambus
24   stock options to the Backdated Option Recipients and certain other executives of the Company, as
25   set forth in Exhibit A hereto. Frequently the grants were dated just after a sharp drop in the
26
27           1
              Rambus’ fiscal years 2001 and 2002 ended on September 30 of 2001 and 2002,
28   respectively. Fiscal years 2003-2006 ended on December 31.
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 1   Company’s stock price and before a substantial rise in the Company’s stock price. See Exhibit B
 2   attached hereto which shows the exercise price for Rambus shares on the various dates of grant
 3   compared to the price of Rambus stock for ten days before and after such grant.
 4           34.     For example, as demonstrated on Exhibit A, the Company’s Proxy statement filed
 5   with the SEC March 19, 2004 reported that on November 25, 2003, defendants Tate, Mooring and
 6   Eulau, in addition to Rambus officers, John D. Danforth, the Company’s Sr. Vice-President,
 7   General Counsel and Secretary and Ed Larsen, the Company’s Sr. Vice-President for
 8   Administration, received options for 760,000 common shares of Rambus at an exercise price of
 9   $25.16, or the price of shares on the date of grant. However, a mere three days later, on November
10   28, the price had risen to close at $30.00 per share, thus creating an almost instant profit for the
11   recipients of these options of nearly $3,800,000.
12           35.     Similarly, on August 23, 2001 options were issued at $4.86 and the next day the price
13   went to $5.67 per share and three days after that, on August 27, to $7.37 per share. More
14   extraordinary, the price of Rambus shares had been $5.35 per share on the day before the option
15   grant date. In fact, the exercise price of $4.86 per share was virtually the lowest trading price of
16   Rambus shares on the 10 days before the option grant date of August 23, 2001 and the 10 days after
17   that date. (See Exhibit B). Defendants Tate and Mooring each received options to purchase 600,000
18   shares of Rambus and realized virtually instant profits of over $1.5 million dollars each.
19           36.     The reason for the extraordinary pattern of stock option grants as alleged herein is
20   that many, if not all, of the purported grant dates set forth therein were not the actual dates on which
21   the stock option grants were made. Rather, at the behest of the defendants, and/or the
22   Compensation Committee, defendants improperly backdated the stock option grants to make it
23   appear as though the grants were made on dates when the market price of Rambus stock was lower
24   than the market price on the actual grant dates.
25           37.     This improper backdating violated the terms of the Company’s shareholder-
26   approved stock option plan. Pursuant to the terms of the Company's shareholder-approved stock
27   option plans, the exercise price of options must be no less than the closing price of Rambus stock on
28   the date of grant. In this way, the executives of a company are supposed to have their interests

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 1   aligned with the shareholders, whose holdings are diluted each time an option is exercised.
 2   Backdating improperly increased the value of the options to the Backdated Option Recipients and
 3   gave them an immediate paper profit which undermined the incentive purpose of such options,
 4   improperly reduced the amounts the Backdated Option Recipients had to pay the Company upon
 5   exercise of the options, and unfairly transferred shareholder equity to defendants.
 6           38.     On or about June 6, 1997 Rambus filed with the SEC a Registration Statement on
 7   Form S-8 registering its 1990 Stock Plan, 1997 Stock Plan and 1997 Employee Stock Purchase
 8   Plan. The 1997 Stock Plan, contained as a exhibit therein, stated that options granted under the Plan
 9   may be Incentive Stock Options or Nonstatutory Stock Options. The Plan at Section 9 defines the
10   “Exercise Price” as follows:
11           9       Option Exercise Price and Consideration.
12           (a)     Exercise Price. The per share exercise price for the Shares to be
                     issued pursuant to exercise of an Option shall be determined by the
13                   Administrator, subject to the following:
14                   (i)     In the case of an Incentive Stock Option
15                           (A)     granted to an Employee who, at the time the Incentive
                     Stock Option is granted, owns stock representing more than ten
16                   percent (10%) of the voting power of all classes of stock of the
                     Company or any Parent or Subsidiary, the per Share exercise price
17                   shall be no less than 110% of the Fair Market Value per Share on the
                     date of grant.
18
                             (B)     granted to any Employee other than an Employee
19                   described in paragraph (A) immediately above, the per Share exercise
                     price shall be no less than 100% of the Fair Market Value per Share
20                   on the date of grant. (emphasis added)
21                   (ii)    In the case of a Nonstatutory Stock Option, the per Share
                             exercise price shall be determined by the Administrator. In the
22                           case of a Nonstatutory Stock Option intended to qualify as
                             “performance-based compensation” within the meaning of
23                           Section 162(m) of the Code, the per Share exercise price shall
                             be no less than 100% of the Fair Market Value per Share on
24                           the date of grant. (emphasis added)
25           39.     Defendants’ conduct also violated the terms of the Company’s own corporate
26   governance guidelines, the Company’s standards of business conduct and the Company’s conflicts
27   of interest policy. For example, the Company’s Code of Business Conduct and Ethics provides that
28   each director, officer and employee may not profit from possession of significant, non-public

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 1   information; and must engage in “honest and ethical conduct, including the ethical handling of
 2   actual or apparent conflicts of interest between personal and professional relationships.” The Code
 3   further states that Rambus has a responsibility to communicate effectively with shareholders so that
 4   they are provided with full and accurate information in all material respects, about Rambus’
 5   financial condition and results of operations.
 6           A.      Defendants Concealed Their Backdating of Stock Options Thus Rendering
                     Rambus’ Proxy Statements Materially False and Misleading
 7
             40.     Defendants’ backdating scheme also rendered the Company’s Proxy Statements
 8
     issued in connection with shareholder meetings held from 2002 to 2005 materially false and
 9
     misleading. The Proxy Statements falsely reported the dates of the stock option grants and falsely
10
     represented that the options were granted at fair market value. If the option grant was backdated,
11
     the options value was not fair from the vantage point of the Company and its shareholders. For
12
     example, a report on the 2003 Executive Compensation contained in Rambus’ 2004 Proxy
13
     Statement falsely represented that “non-cash compensation [to executives] should be closely aligned
14
     with shareholder interests.” In addition, Rambus Proxy’s statement filed in 2005 was also false and
15
     misleading because in it defendants continued to conceal the Company’s illicit policy of backdating
16
     options.
17
             41.     Rambus issued its Proxy Statement dated December 20, 2001 for the annual meeting
18
     of stockholders to be held February 5, 2002. This proxy statement disclosed certain information
19
     regarding stock options granted to each of the named executive officers for the fiscal year ended
20
     September 30, 2001, and stated further, in a footnote, “Unless otherwise indicated, options were
21
     granted at an exercise price equal to the fair market value of the Company’s Common Stock at the
22
     date of the grant.” This proxy statement, signed by defendant Danforth, on behalf of the Board of
23
     Directors, including defendants Tate, Mooring, Eulau, Dunlevie, Farmwald, Horowitz, Geschke and
24
     Davidow, was false and misleading as no mention was made that some or all of the options granted
25
     to members of management during the current and prior fiscal years may have been backdated or
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     otherwise manipulated.
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 1           42.     Rambus issued its Proxy Statement dated December 19, 2002 for the annual meeting
 2   of stockholders to be held January 30, 2003. This proxy statement disclosed certain information
 3   regarding stock options granted to each of the named executive officers for the fiscal year ended
 4   September 30, 2002, and stated further, in a footnote, “Unless otherwise indicated, options were
 5   granted at an exercise price equal to the fair market value of the Company’s Common Stock at the
 6   date of the grant.” This proxy statement, signed by defendant Danforth on behalf of the Board of
 7   Directors, including defendants Tate, Mooring, Eulau, Dunlevie, Farmwald, Horowitz, Geschke and
 8   Davidow, was false and misleading as no mention was made that some or all of the options granted
 9   to members of management during the current and prior fiscal years may have been backdated or
10   otherwise manipulated.
11           43.     Rambus issued its Proxy Statement dated March 19, 2004 for the annual meeting of
12   stockholders to be held May 4, 2004. This proxy statement disclosed certain information regarding
13   stock options granted to each of the named executive officers during 2003, and the transitional
14   period October 1, 2002 to December 1, 2002 (due to change of reporting period), including the
15   exercise price and stated further, in a footnote, “Unless otherwise indicated, options were granted at
16   an exercise price equal to the fair market value of the Company’s Common Stock at the date of the
17   grant.” This proxy statement, signed by defendant Danforth on behalf of the Board of Directors,
18   which included defendants Hughes, Kennedy, Tate, Mooring, Eulau, Dunlevie, Farmwald,
19   Horowitz, Geschke and Davidow, was false and misleading as no mention was made that some or
20   all of the options granted to members of management during the current and prior periods may have
21   been backdated or otherwise manipulated.
22           44.     Rambus issued its Proxy Statement dated March 29, 2005 for the annual meeting of
23   stockholders to be held May 3, 2005. This proxy statement disclosed certain information regarding
24   stock options granted including the exercise price to each of the named executive officers during
25   2004 including the purported exercise price, and stated further, in a footnote, “Unless otherwise
26   indicated, options were granted at an exercise price equal to the fair market value of the Company’s
27   Common Stock at the date of the grant.” This proxy statement, signed by defendant Danforth on
28   behalf of the Board of Directors, which included defendants Hughes, Kennedy, Tate, Mooring,

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 1   Eulau, Dunlevie, Farmwald, Horowitz, Geschke and Davidow, was false and misleading as no
 2   mention was made that some or all of the options granted to members of management during the
 3   current and prior years may have been backdated or otherwise manipulated.
 4           B.        Defendants’ Backdating of Options Also Rendered Their Annual Report
                       on Form 10-k to Be Materially False and Misleading
 5
 6           45.       Defendants’ backdating scheme also rendered the Company’s financial statements in
 7   Form 10-K filings for fiscal years 2001, 2002, 2003 and 2004 to be materially false and misleading.
 8           46.       Pursuant to APB 25, the applicable GAAP provision at the time of the foregoing
 9   stock option grants, if the market price on the date of grant exceeds the exercise price of the options,
10   the company must recognize the difference as an expense, thereby reducing the company’s net
11   income.
12           47.       In addition, as set forth in the Company’s Proxy Statements, the Company has
13   adopted IRS§162(m) (Section 162(m) of the Tax Code, 26 U.S.C. §162) which permits the
14   Company to deduct for federal income taxes purposes compensation paid under the Bonus Plan.
15   The Company’s Proxy Statements claimed that the 1997 Stock Plan was designed and administered
16   to meet the requirements of Section 162(m). Pursuant to Section 162(m), compensation in excess of
17   $1 million per year, including gains on stock options, paid to a corporation’s five most
18   highly-compensated officers is tax deductible only if: (i) the compensation is payable solely on
19   account of the attainment of one or more performance goals; (ii) the performance goals are
20   determined by a compensation committee comprised solely of two or more outside directors, (iii)
21   the material terms under which the compensation is to be paid, including the performance goals, are
22   disclosed to shareholders and approved by a majority of the vote in a separate shareholder vote
23   before payment of the compensation, and (iv) before any payment of such compensation, the
24   compensation committee certifies that the performance goals and any other material terms were in
25   fact satisfied.
26           48.       As a result of the improper backdating of stock options, the Company, with the
27   knowledge, approval, and participation of each of the defendants, violated GAAP by failing to
28   recognize compensation expenses incurred when the improperly backdated options were granted;

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 1   violated §162(m) by taking tax deductions based on stock option grants that were not payable solely
 2   on account of the attainment of one or more performance goals and violated the terms of the
 3   Company's shareholder-approved stock option plans.
 4           49.     On or about December 4, 2001 the Company filed its Form 10-K report for the fiscal
 5   year ended September 30, 2001 with the SEC. The 10-K report was contemporaneously distributed
 6   to the public including its shareholders. This Form 10-K report contained the Company’s
 7   comparative financial statements for the current and prior fiscal years which were materially false
 8   and misleading and were not prepared in accordance with generally accepted accounting principles
 9   due to the improper accounting for stock option grants which were backdated. As a result Rambus’
10   net earnings and stockholders’ equity were overstated and the compensation costs attributable to the
11   backdated stock options were correspondingly understated. Rambus will now be forced to
12   acknowledge serious shortcomings in its administration and accounting for stock options.
13           50.     Also, the Company stated in a footnote to the financial statements that, “Rambus
14   accounts for stock-based awards to employees using the intrinsic value method in accordance with
15   Accounting Principle Board Opinion No. 25, “Accounting for Stock Issued to Employees.” Stock
16   options are generally granted with exercise prices equivalent to fair market value, and no
17   compensation cost is recognized. When stock options are compensation granted with exercise
18   prices below fair market value, employee stock-related compensation expense is recognized
19   accordingly.”
20           51.     On or about November 26, 2002 the Company filed its Form 10-K report for the
21   fiscal year ended September 30, 2002 with the SEC. This 10-K was signed by defendants Tate,
22   Mooring, Eulau, Davidow, Dunlevie, Farmwald, Geschke and Horowitz. The 10-K report was
23   contemporaneously distributed to the public including its shareholders. This Form 10-K report
24   contained the Company’s comparative financial statements for the current and prior fiscal years
25   which were materially false and misleading and were not prepared in accordance with GAAP due to
26   the improper accounting for stock option grants which were backdated. As a result Rambus’ net
27   earnings and stockholders’ equity were overstated and the compensation costs attributable to the
28   backdated stock options were correspondingly understated, according to the accounting principles

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 1   set forth in paragraphs 46-48 above. Rambus will now be forced to acknowledge serious
 2   shortcomings in its administration and accounting for stock options.
 3           52.     Also, the Company stated in a footnote to the financial statements that, “Rambus
 4   accounts for stock-based awards to employees using the intrinsic value method in accordance with
 5   Accounting Principle Board Opinion No. 25, “Accounting for Stock Issued to Employees.” Stock
 6   options are generally granted with exercise prices equivalent to fair market value, and no
 7   compensation cost is recognized. When stock options are compensation granted with exercise
 8   prices below fair market value, employee stock-related compensation expense is recognized
 9   accordingly.”
10           53.     In connection with the November 2002 10-K, the Company submitted to the SEC the
11   certifications of its principal executive officer, defendant Tate, and its principal financial officer,
12   defendant Eulau, as required pursuant to 18 U.S.C. 1350, as adopted pursuant to Section 906 of the
13   Sarbanes-Oxley Act of 2002. Each such certification of defendants Tate and Eulau stated, “Based
14   on my knowledge, this report does not contain any untrue statement of material fact or omit to state
15   a material fact necessary to make the statements made, in light of the circumstances under which
16   such statements were made, not misleading with respect to the period covered by this report.”
17           54.     On or about February 13, 2004 the Company filed its Form 10-K report for the year
18   ended December 31, 2003. This 10-K was signed by defendants Tate, Mooring, Eulau, Davidow,
19   Dunlevie, Farmwald, Geschke, Horowitz, Hughes and Kennedy. The 10-K report was
20   contemporaneously distributed to the public including its shareholders. This Form 10-K report
21   contained the Company’s comparative financial statements for the years 2003 and 2002 and three
22   months ended December 31, 2002 and 2001 which were materially false and misleading and were
23   not prepared in accordance with GAAP due to the improper accounting for stock option grants
24   which were backdated. As a result, Rambus’ net earnings and stockholders’ equity were overstated
25   and the compensation costs attributable to the backdated options were correspondingly understated,
26   according to the accounting principles set forth in paragraphs 46-48 above. Rambus will now be
27   forced to acknowledge serious shortcomings in its administration and accounting for stock options.
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 1           55.      Also, the Company stated in a footnote to the financial statements that, “Rambus
 2   accounts for stock-based awards to employees using the intrinsic value method in accordance with
 3   Accounting Principle Board Opinion No. 25, “Accounting for Stock Issued to Employees.” Stock
 4   options are generally granted with exercise prices equivalent to fair market value, and no
 5   compensation cost is recognized. When stock options are compensation granted with exercise
 6   prices below fair market value, employee stock-related compensation expense is recognized
 7   accordingly.”
 8           56.      In connection with the February 2004 10-K, the Company submitted to the SEC the
 9   certifications of its principal executive officer, defendant Tate, and its principal financial officer,
10   defendant Eulau, as required pursuant to 18 U.S.C. 1350, as adopted pursuant to Section 906 of the
11   Sarbanes-Oxley Act of 2002. Each such certification of defendants Tate and Eulau stated, “Based
12   on my knowledge, this report does not contain any untrue statement of material fact or omit to state
13   a material fact necessary to make the statements made, in light of the circumstances under which
14   such statements were made, not misleading with respect to the period covered by this report.”
15           57.      On or about February 17, 2005 the Company filed its Form 10-K report for the year
16   ended December 31, 2004 with the SEC. The 10-K report was contemporaneously distributed to the
17   public including its shareholders. This Form 10-K report contained the Company’s comparative
18   financial statements for the current and prior year which were materially false and misleading and
19   were not prepared in accordance with generally accepted accounting principles due to the improper
20   accounting for stock option grants which were backdated. As a result, Rambus’ net earnings were
21   overstated and the compensation costs attributable to the backdated options were correspondingly
22   understated, according to the accounting principles set forth in paragraphs 46-48 above. Rambus
23   will now be forced to acknowledge serious shortcomings in its administration and accounting for
24   stock options.
25           58.      Also, the Company stated in a footnote to the financial statements that, “Rambus
26   accounts for stock-based awards to employees using the intrinsic value method in accordance with
27   Accounting Principle Board Opinion No. 25, “Accounting for Stock Issued to Employees.” Stock
28   options are generally granted with exercise prices equivalent to fair market value, and no

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 1   compensation cost is recognized. When stock options are compensation granted with exercise
 2   prices below fair market value, employee stock-related compensation expense is recognized
 3   accordingly.”
 4           59.     In connection with the February 2005 10-K, the Company submitted to the SEC the
 5   certifications of its principal executive officer, defendant Hughes, and its principal financial officer,
 6   defendant Eulau, respectively, as required pursuant to 18 U.S.C. 1350, as adopted pursuant to
 7   Section 906 of the Sarbanes-Oxley Act of 2002. Each such certification of defendants Hughes and
 8   Eulau stated, “Based on my knowledge, this report does not contain any untrue statement of material
 9   fact or omit to state a material fact necessary to make the statements made, in light of the
10   circumstances under which such statements were made, not misleading with respect to the period
11   covered by this report.”
12           60.     On or about February 21, 2006 the Company filed its Form 10-K report for the year
13   ended December 31, 2005 with the SEC. This 10-K was signed by defendants Hughes, Eulau, Tate,
14   Dunlevie, Farmwald, Horowitz, and Mooring. The 10-K report was contemporaneously distributed
15   to the public including its shareholders. This Form 10-K report contained the Company’s
16   comparative financial statements for the prior years which were materially false and misleading and
17   were not prepared in accordance with generally accepted accounting principles due to the improper
18   accounting for stock option grants which were backdated. As a result Rambus’ net earnings and
19   stockholders’ equity for prior years was overstated and the compensation costs attributable to the
20   backdated stock options were correspondingly understated, according to the accounting principles
21   set forth in paragraphs 46-48 above, Rambus will now be forced to acknowledge serious
22   shortcomings in its administration and accounting for stock options. In connection with this report
23   the Company submitted to the SEC the certifications of its principal executive officer and its
24   principal financial officer a required pursuant to 18 U.S.C. 1350, as adopted pursuant to Section 906
25   of the Sarbanes-Oxley Act of 2002. Each such certification of defendants Hughes, Eulau, Tate,
26   Dunlevie, Farmwald, Horowitz, and Mooring stated, “Based on my knowledge, this report does not
27   contain any untrue statement of material fact or omit to state a material fact necessary to make the
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 1   statements made, in light of the circumstances under which such statements were made, not
 2   misleading with respect to the period covered by this report.”
 3           61.     As a result of all of the foregoing, plaintiff and members of the Class have been
 4   damaged. On May 31, 2006, after news of the Audit Committee’s investigation of backdating of
 5   stock options, Rambus common shares declined from a close of $25.84 on May 30 to a close of
 6   $24.26 on May 31. On June 28, 2006, Rambus shares declined over 6% or from $23.13.
 7                   APPLICABILITY OF THE FRAUD ON THE MARKET DOCTRINE
 8           62.     At all relevant times, the market for Rambus’ common stock was an efficient market
 9   for the following reasons, among others:
10                   (a)     Rambus’ common stock met the requirements for listing, and was listed and
11   actively traded on the NASDAQ, a highly efficient and automated market;
12                   (b)     As a regulated issuer, Rambus filed periodic public reports with the SEC and
13   the NASDAQ;
14                   (c)     Rambus regularly communicated with public investors via established market
15   communication mechanisms, including through regular disseminations of press releases on the
16   national circuits of major newswire services and through other wide-ranging public disclosures,
17   such as communications with the financial press and other similar reporting services; and
18                   (d)     Rambus was followed by securities analysts, including those who were
19   employed by major brokerage firms, who wrote reports which were distributed to the sales force and
20   certain customers of their respective brokerage firms. Each of these reports was publicly available
21   and entered the public marketplace.
22           63.     As a result of the foregoing, the market for Rambus’ promptly digested current
23   information regarding Rambus from all publicly available sources and reflected such information in
24   Rambus’ stock price. Under these circumstances, all purchasers of Rambus common stock during
25   the Class Period suffered similar injury through their purchase of Rambus’ common stock at
26   artificially inflated prices and a presumption of reliance applies
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 1                               ADDITIONAL SCIENTER ALLEGATIONS
 2           64.     On May 30, 2006 Rambus issued a press release which “… announced that the
 3   Audit Committee of the Company’s Board of Directors has commenced an internal investigation of
 4   the timing of past option grants and other potentially related issues....”
 5           65.     Certain member of Rambus’ management listed below, including defendants
 6   Mooring, Eulau and Danforth as Backdated Option Recipients, in the months preceding the May 30,
 7   2006 announcement (from January 1, 2006), sold a total of 2,295,099 artificially inflated Rambus
 8   shares, while in the possession of materially adverse inside knowledge regarding backdating options
 9   scheme, as described herein. Many of these shares were acquired by the exercise of stock options
10   for proceeds of $74,261,265 as follows:
11   TOTAL SHARES AND PROCEEDS:
12                                                                                AVERAGE PER
                                      SHARES                    PROCEEDS          SHARE PROCEEDS
13           Mooring                  1,591,999                 $ 51,318,569           $ 32.22
             Eulau                      350,000                 $ 10,510,715           $ 30.03
14           Danforth                   170,000                 $ 6,096,608            $ 35.86
             Stark2                     183,100                 $ 6,335,373            $ 34.60
15
          TOTALS                      2,295,099                 $ 74,261,265          $ 32.36
16
17           66.     Members of the Compensation Committee during all or part of the Class Period,
18   which included Individual Defendants Farmwald, Geschke, Dunlevie, and Kennedy (previously
19   defined herein as the “Compensation Committee Directors”), were aware of, or but for their reckless
20   disregard should have been aware of, the backdating options scheme. The Charter of the
21   Compensation Committee of Rambus states that the purpose of the Compensation Committee is,
22   inter alia, to “recommend and approve appropriate executive compensation” and to “make
23
24
             2
               Laura S. Stark is the Sr. Vice President, Platform Solutions. Mrs. Stark joined Rambus in
25   1996 as Strategic Accounts Manager, and held the positions of Strategic Accounts Director and Vice
26   President, Alliances and Infrastructure, before assuming the position of Vice President, Memory
     Interface Division in October 2000, which she held until February 2005 when she was appointed
27   Vice President, Platform Solutions.

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 1   recommendations to the Board regarding director compensation.” The Committee is charged with
 2   annually reviewing and approving for the CEO and executive officers of the Company, the annual
 3   salary, bonuses, equity compensation, incentive bonuses and any other benefits, compensation or
 4   arrangements. Therefore, because of their intricate involvement in the formulation and issuance of
 5   such options, the Compensation Committee Directors possessed the requisite scienter.
 6           67.     Those defendants who were members of the Audit Committee, which included
 7   Individual Defendants Davidow, Geschke, Dunlevie and Hughes (previously defined herein as the
 8   “Compensation Committee Directors”) for some of all of the Class Period, were responsible for
 9   maintaining the adequacy of internal controls, and therefore, knew, or at a minimum recklessly
10   disregarded, the impermissible option backdating scheme which internal controls of the Company
11   should have detected. The Audit Committee Charter of Rambus states that the Company has an
12   obligation to insure that it produces and publicly distributes financial statements which are
13   consistent, fairly presented and in conformance with generally accepted accounting principles. It is
14   the duty of the Audit Committee to oversee the Company’s accounting and financial reporting
15   process, its system of internal accounting controls and the auditing of the Company’s financial
16   statements. In addition, members of the Audit Committee whose duty it was to meet periodically
17   with management to review the adequacy of the Company's internal controls, did, or but for their
18   reckless disregard should have, detected and been aware of the illicit option backdating scheme.
19   Therefore, the Audit Committee Directors possessed the requisite scienter.
20                                                    COUNT I
21                 FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
                         AND RULE10b-5 PROMULGATED THEREUNDER
22
23           68.     Plaintiff repeats and realleges each and every allegation set forth above. During the
24   Class Period, defendants, and each of them, carried out a plan, scheme and course of conduct that
25   was intended to and/or did: (i) deceive the investing public, including Plaintiff and other Class
26   members, as alleged herein; (ii) artificially inflate the market price of Rambus common stock; and
27   (iii) cause plaintiff and other members of the Class to buy Rambus stock at artificially inflated
28

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 1   prices. In furtherance of this unlawful scheme, plan, and course of conduct, defendants, and each of
 2   them, took the actions set forth herein.
 3           69.     These defendants: (a) employed devices, schemes and artifices to defraud; (b) made
 4   untrue statements of material fact and/or omitted to state material facts necessary to make the
 5   statements not misleading; and (c) engaged in acts, practices and a course of business which
 6   operated as a fraud and deceit upon the buyers of Rambus common stock in violation of Section
 7   10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.
 8           70.     Defendants' material misrepresentations and/or omissions were done knowingly or
 9   recklessly.
10           71.     As a result of the defendants’ dissemination of deceptive and misleading information
11   regarding the Rambus’ practice of backdating options in violation of the Company’s own internal
12   policies and procedures and in contradiction to statement made in the Company’s filings with the
13   SEC. Furthermore, the backdating of options resulted in understating expenses and thus overstating
14   net income in the Company’s financial results contained in Rambus’ Form 10-Ks filed with the SEC
15   during the Class Period. In ignorance of the fact that the market price of Rambus’ shares were
16   artificially inflated, and relying upon the integrity of the market in which Rambus common stock
17   trades, and/or on the absence of material information that was known to and/or recklessly
18   disregarded by defendants but not disclosed in public statements by defendants during the Class
19   Period, plaintiff and the other members of the Class bought Rambus common stock during the Class
20   Period at artificially inflated prices and were damaged thereby.
21           72.     At the time of said misrepresentations and omissions, plaintiff and the other
22   members of the Class were ignorant of the omitted material facts and believed defendants’
23   statements regarding the awarding of options and their financial statements contained in their Form
24   10-Ks to be completely truthful, candid and not deceptive or misleading or suffering from omissions
25   of material facts. Had plaintiff and the other members of the Class known of the omitted material
26   facts, plaintiff and the other members of the Class would not have bought their Rambus common
27   stock during the Class Period, or, if they had bought such stock during the Class Period, they would
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 1   not have done so at the artificially inflated prices which they paid for their Rambus common stock
 2   which they bought during the Class Period.
 3           73.     By virtue of the foregoing, each of the defendants violated Section 10(b) of the
 4   Exchange Act and Rule 10b-5 promulgated thereunder.
 5           74.     As a direct and proximate result of defendants' wrongful conduct, plaintiff and the
 6   other members of the Class suffered damages in connection with their purchases of Rambus
 7   common stock during the Class Period.
 8                                       COUNT II
                    FOR VIOLATION OF SECTION 14(a) OF THE EXCHANGE ACT
 9
10           75.     Plaintiff incorporates by reference and realleges each and every allegation set forth
11   above, as though fully set forth herein.
12           76.     Rule 14a-9, promulgated pursuant to Section 14(a) of the Exchange Act provides that
13   no proxy statement shall contain “any statement which at the time and in light of the circumstances
14   under which it is made is false and misleading with respect to any material fact, or which omits to
15   state any material fact necessary in order to make the statements therein not false and misleading.”
16   17 C.F.R. Section 240.14a-9.
17           77.     The Proxy Statements for annual shareholder meetings held in 2002 through 2005
18   violated Rule 14(a) and Rule 14a-9 because they omitted material facts, including the fact that
19   defendants were causing Rambus to engage in an option backdating scheme, a fact which the
20   defendants were aware of and participated in from at least 2001.
21           78.     In the exercise of reasonable care, defendants should have known that the Proxy
22   Statements were materially false and misleading.
23           79.     The misrepresentations and omissions in the Proxy Statement were material to
24   plaintiff in voting on each Proxy Statement. The Proxy Statements were an essential link in the
25   accomplishment and continuation of defendants’ unlawful stock option backdating scheme, as
26   revelations of the truth would have immediately thwarted a continuation of shareholders’
27   endorsement of the directors’ position, the executive officers’ compensation and the Company’s
28   compensation policies.

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 1           80.     Plaintiff, and the Class, were damaged as a result of the material misrepresentations
 2   and omissions in the Proxy Statements.
 3                                                   COUNT III
 4                    AGAINST THE INDIVIDUAL DEFENDANTS PURSUANT TO
                            SECTION 20(a) OF THE EXCHANGE ACT
 5
 6           81.     Plaintiff repeats and realleges each and every allegation set forth above.
 7           82.     This claim is asserted against the Individual Defendants pursuant to Section 20(a) of
 8   the Exchange Act, 15 U.S.C. §78t(a).
 9           83.     During the Class Period, Individual Defendants Hughes, Eulau, Mooring, Tate,
10   Dunlevie, Farmwald, Horowitz, Kennedy, Danforth, Davidow and Geschke were “controlling
11   persons” of defendant Rambus, within the meaning of Section 20(a) of the Exchange Act.
12           84.     The Individual Defendants were “controlling persons” of Rambus because, due to the
13   officer and/or director positions they held with Rambus, they had the influence and power over
14   Rambus to cause, and they did cause, Rambus to engage in the wrongful conduct complained of
15   herein, and because they had the power to have prevented Rambus from engaging in the unlawful
16   conduct alleged herein, but they purposely, intentionally and recklessly did not use that power to do
17   so.
18           85.     As set forth above in Count I, Rambus violated Section 10(b) of the Exchange Act
19   and Rule 10b-5 promulgated thereunder by its acts and omissions as alleged in this Complaint. By
20   virtue of their status as a “controlling person” of Rambus, the Individual Defendants are liable, to
21   the same extent as is Rambus for its violations of Section 10(b) of the Exchange Act and Rule 10b-5
22   promulgated thereunder, pursuant to Section 20(a) of the Exchange Act.
23           86.     As set forth in Count II, Rambus violated Section 14(a) of the Exchange Act by its
24   acts and omissions. By virtue of their status as a “controlling person” of Rambus, the Individual
25   Defendants are liable, to the same extent as is Rambus for its violations of Section 14(a) of the
26   Exchange Act, pursuant to Section 20(a) of the Exchange Act.
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 1                                            PRAYER FOR RELIEF
 2           WHEREFORE, plaintiff, on behalf of itself and the Class, pray for judgment as follows:
 3           A.      Declaring this action to be a class action properly maintained pursuant to Rule 23(a)
 4                   and (b)(3) of the Federal Rules of Civil Procedure;
 5           B.      Finding that the defendants violated Section 10(b) of the Exchange Act and Rule
 6                   10b-5 promulgated thereunder and Sections 20(a) and 14(a) by their acts and
 7                   omissions as alleged in this Complaint;
 8           C.      Awarding plaintiff and the members of the Class damages, together with interest
 9                   thereon;
10           D.      Awarding plaintiff and other members of the Class their costs and expenses of this
11                   litigation, including reasonable attorneys' fees and experts' fees and other costs and
12                   disbursements; and
13           E.      Awarding plaintiff and other members of the Class such other and further relief as
14                   may be just and proper under the circumstances
15                                         JURY TRIAL DEMANDED
16           Plaintiff demands a trial by jury as to all issues so triable.
17   Dated: July 14, 2006                             Timothy J. Burke
                                                      STULL, STULL & BRODY
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19
                                              By:                /s/
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